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                                  EXHIBIT 1
                                Case
    Case 0:21-cv-61405-RS Document      Entered COCE-21-031036
                                   1-2 Number:                  Division: 54Page 2 of 57
                                                on FLSD Docket 07/08/2021
Filing # 128083496 E-Filed 96/03/2021 11:07:42 PM


                   IN THE COUNTY COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                             IN AND FOR BRO WARD COUNTY, FLORIDA

                                                             Case No.
        EDWIN ETIENNE,

                    Plaintiff,
                                                                               CIVIL ACTION SUMMONS
         V.

         MRS BPO, LLC,

                   Defendant.

                                                                               Date:                  dir,,.. /o :34
                                                           SUMMONS
                                                                                       is a certified procl sery r in the
         THE STATE OF FLORIDA:                                                      Circuit and County Courts in and for the
                                                                                             Second Jueleal Circuit

         To Each Sheriff of the State:

                  YOU ARE COMMANDED to serve this summons and a copy of the complaint or petition in
         this action on Defendant:

                                                         MRS BPO, LLC
                                                      do Cogency Global Inc.
                                                  115 North Calhoun Street Suite 4
                                                       Tallahassee FL 32301

                    Each defendant is required to serve written defenses to the complaint or petition on Plaintiff s
              attorney, Jibrael. S. Hindi, Esq., fire Law Offices ofJibrael S. Hindi, PLLC, 110 SE 6th Street, Suite
              1744, Fort Lauderdale, Florida 33301, within 20 days after service ofthis summons on that defendant,
              exclusive ofthe day of service, and to file the original of the defenses with the clerk of this court either
              before service on Plaintiff s attorney or immediately thereafter. If a defendant fails to do so, a default
              will be entered against that defendant for the relief demanded in the complaint or petition.

              DATED on:              JUN 04 2021

                                                                       Brenda D. Form                   e Court



                                                                       By.



                                                                                   BRENDA D. F. RMAN


                                                                                                           PAGE I 1 of 2


              *** FILED: BROWARD COUNTY, FL BRENDA D. FORMAN, CLERK 06/03/2021 11:07:39 PM.****
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 3 of 57




                                              IMPORTANT

          A lawsuit has been filed against you. You have 20 calendar days after this summons is
   served on you to file a written response to the attached complaint with the clerk of this court. A
   phone call will not protect you. Your written response, including the case number given above and
   the names of the parties, must be filed if you want the court to hear your side of the case. If you
   do not file your response on time, you may lose the case, and your wages, money, and property
   may thereafter be taken without further warning from the court. There are other legal requirements.
   You may want to call an attorney right away.

            If you do not know an attorney, you may call an attorney referral service or a legal aid
    office (listed in the phone book). If you choose to file a written response yourself, at the same time
    you file your written response to the court you must also mail or take a copy of your written
    response to the "Plaintiff/Plaintiff s Attorney" named below.

                                              IMPORTANTE

            Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
    notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una
    llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
    presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
    interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y podria ser
    despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
    Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente.
    Si no conoce a un abogado, puede llamar a una de las oficinas de asistencia legal que aparecen en
    la guia telefonica.

           Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su
    respuesta ante el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la
    persona denominada abajo como "Plaintiff/Plaintiff s Attorney" (Demandante o Abogado del
    Demandante).
           Dated: June 3, 2021
                                                                Respectfully Submitted,

                                                                 /s/ Thomas J. Patti
                                                                JIBRAEL S. HINDI, ESQ.
                                                                Florida Bar No.: 118259
                                                                E-mail: jibrael@jibraellaw.com
                                                                THOMAS J. PATTI, ESQ.
                                                                Florida Bar No.: 118377
                                                                E-mail:    tomgibraellaw.com
                                                                The Law Offices of Jibrael S. Hindi
                                                                110 SE 6th Street, Suite 1744
                                                                Fort Lauderdale, Florida 33301
                                                                Phone:     954-907-1136

                                                                COUNSEL FOR PLAINTIFF


                                                                                            PAGE I 2 of 2
    Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 4 of 57
Filing lit 128683496 E-Filed 96/03/2021 11:07:42 PM



         FORM 1.997.        CIVIL COVER SHEET

         The civil cover sheet and the information contained in it neither replace nor supplement the filing
         and service of pleadings or other documents as required by law. This form must be filed by the
         plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
         to section 25.075, Florida Statutes. (See instructions for completion.)

                 I.      CASE STYLE

                          IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT,
                               IN AND FOR BROWARD COUNTY, FLORIDA

         Edwin Etienne
         Plaintiff                                                                Case #
                                                                                  Judge
         vs.
        MRS BP0 LLC
         Defendant


                         AMOUNT OF CLAIM
        Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
        the claim is requested for data collection and clerical processing purposes only. The amount of the claim
        shall not be used for any other purpose.

         El $8,000 or less
         Z $8,001 - $30,000
            $30,001- $50,000
         CI $50,001- $75,000
         LI $75,001 - $100,000
         CI over $100,000.00

                 III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
         definitive category.) If the most descriptive label is a subcategory (is indented under a broader
         category), place an x on both the main category and subcategory lines.




                                                             1
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 5 of 57




   CIRCUIT CIVIL
   CI Condominium
   O Contracts and indebtedness
   O Eminent domain
   0 Auto negligence
   O Negligence—other
           O Business governance
           O Business torts
           O Environmental/Toxic tort
           O Third party indemnification
           O Construction defect
           O Mass tort
           O Negligent security
           O Nursing home negligence
           O Premises liability—commercial
           O Premises liability—residential
   O  Products liability
   O Real Property/Mortgage foreclosure
          0 Commercial foreclosure
          O Homestead residential foreclosure
          0 Non-homestead residential foreclosure
          O Other real property actions

    E Professional malpractice
           O Malpractice—business
           O Malpractice—medical
           o Malpractice—other professional
    O Other
           O Antitrust/Trade regulation
           O Business transactions
           O Constitutional challenge—statute or ordinance
           O Constitutional challenge—proposed amendment
           O Corporate trusts
           o Discrimination—employment or other
           O Insurance claims
           O Intellectual property
           O Libel/Slander
           o Shareholder derivative action
           O Securities litigation
           o Trade secrets
           O Trust litigation


    COUNTY CIVIL

    ID Sma)1 Claims up to $8,000
    [XICivil
    El Real property/Mortgage foreclosure
                                                    2_
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 6 of 57




    0 Replevins
    CI Evictions
           O Residential Evictions
           O Non-residential Evictions
    0 Other civil (non-monetary)

                                         COMPLEX BUSINESS COURT

   This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
   Administrative Order. Yes 0 No El

            IV.   REMEDIES SOUGHT (check all that apply):
            El Monetary;
            EINonmonetary declaratory or injunctive relief;
            O Punitive

            V.     NUMBER OF CAUSES OF ACTION: [ ]
            (Specify)
               2
            VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                    O yes
                    23 no

            VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                    El no
                    O yes If "yes," list all related cases by name, case number, and court.

            VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                  23 yes
                  O no

    I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
    my knowledge and belief, and that I have read and will comply with the requirements of
    Florida Rule of Judicial Administration 2.425.

    Signature: s/ Thomas John Patti III                     Fla. Bar # 118377
                   Attorney or party                                       (Bar # if attorney)
   Thomas John Patti III                            06/03/2021
    (type or print name)                            Date




                                                      3
    Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 7 of 57
Filing # 128083496 E-Filed 06/03/2021 11:07:42 PM



         FORM 1.997.        CIVIL COVER SHEET

         The civil cover sheet and the information contained in it neither replace nor supplement the filing
         and service of pleadings or other documents as required by law. This form must be filed by the
         plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
         to section 25.075, Florida Statutes. (See instructions for completion.)


                  I.     CASE STYLE

                           IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT,
                                IN AND FOR BROWARD COUNTY, FLORIDA

         Edwin Etienne
         Plaintiff                                                                Case #
                                                                                  Judge
         vs.
        MRS BP0 LLC
         Defendant


                  II.     AMOUNT OF CLAIM
        Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
        the claim is requested for data collection and clerical processing purposes only. The amount of the claim
        shall not be used for any other purpose.
         O    $8,000 or less
         El   $8,001 - $30,000
         O    $30,001- $50,000
         O    $50,001- $75,000
         O    $75,001 - $100,000
         O    over $100,000.00

                 III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
         definitive category.) If the most descriptive label is a subcategory (is indented under a broader
         category), place an x on both the main category and subcategory lines.




                                                             1
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   CIRCUIT CIVIL
   El Condominium
   O Contracts and indebtedness
   O Eminent domain
   0 Auto negligence
   O Negligence—other
          O Business governance
          O Business torts
          O Environmental/Toxic tort
          O Third party indemnification
          O Construction defect
          O Mass tort
          0 Negligent security
          O Nursing home negligence
          O Premises liability—commercial
          O Premises liability—residential
    O Products liability
    O Real Property/Mortgage foreclosure
          O Commercial foreclosure
          O Homestead residential foreclosure
          0 Non-homestead residential foreclosure
          0 Other real property actions

    CI Professional malpractice
            O Malpractice—business
            O Malpractice—medical
            O Malpractice—other professional
    O Other
            O Antitrust/Trade regulation
            O Business transactions
            O Constitutional challenge—statute or ordinance
            O Constitutional challenge—proposed amendment
            O Corporate trusts
            O Discrimination—employment or other
            O Insurance claims
            O Intellectual property
            O Libel/Slander
            O Shareholder derivative action
            O Securities litigation
            O Trade secrets
            O Trust litigation

    COUNTY CIVIL

    0 Small Claims up to $8,000
    CI Civil
    E Real property/Mortgage foreclosure
                                                    -   2-
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 9 of 57




    o Replevins
    0 Evictions
          D Residential Evictions
          0 Non-residential Evictions
    0 Other civil (non-monetary)

                                         COMPLEX BUSINESS COURT

   This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
   Administrative Order. Yes 0 No El

            IV.   REMEDIES SOUGHT (check all that apply):
            23 Monetary;
               Nonmonetary declaratory or injunctive relief;
            0 Punitive

            V.     NUMBER OF CAUSES OF ACTION: [
            (Specify)
              2
            VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                    O yes
                    COno

            VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                    1:81
                      no
                    O yes If "yes," list all related cases by name, case number, and court.

            VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                  COyes
                  O no

    I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
    my knowledge and belief, and that I have read and will comply with the requirements of
    Florida Rule of Judicial Administration 2.425.

    Signature: s/ Thomas John Patti III                     Fla. Bar # 118377
                   Attorney or party                                      (Bar # if attorney)
   Thomas John Patti III                            06/03/2021
    (type or print name)                            Date




                                                      3
    Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 10 of 57
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                IN THE COUNTY COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                          IN AND FOR BRO WARD COUNTY, FLORIDA

         EDWIN ETIENNE,

                Plaintiff,
                                                                                         Case No.
         V.
                                                                                         JURY TRIAL DEMANDED
         MRS BPO, LLC,
                                                                                         INJUNCTIVE RELIEF SOUGHT
                Defendant.


                                                               COMPLAINT

                 Plaintiff Edwin Etienne ("Plaintiff') sues Defendant MRS BPO, LLC ("Defendant") for

         violations the Florida Consumer Collection Practices Act ("FCCPA") and the Fair Debt Collection

         Practices Act ("FDCPA")

                                                   JURISDICTION AND VENUE

                 1.         This Court has subject matter jurisdiction over Plaintiff and Defendant

         (collectively, the "Parties"), because the cause of action arises within the jurisdiction of this Court

         and, thus, venue and jurisdiction are proper.

                 2.         This Court has personal jurisdiction over Defendant because Defendant is

         operating, present, and/or doing business within this jurisdiction and because the complained of

         conduct of Defendant occurred within Broward County, Florida.

                 3.         The amount in controversy is greater than $8,000, but does not exceed $15,000,

         exclusive of costs, interest, and attorneys' fees, and is otherwise within this Court' s jurisdiction.

                 4.         Venue of this action is proper in this Court because, pursuant to Fla. Stat. § 47.011,

         et seq., the cause of action alleged below arose in Broward County Florida.



                                                                                                                          PAGE    Ii   of 7
                                              LAW OFFICES OF JIBRAEL S. HINDI, PLLC
                      110 SE 6th Street. 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-1136 I Fax (855) 529-9540
                                                                             '.1  • •
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                                                               PARTIES

            5.          Plaintiff is a natural person, and a citizen of the State of Florida, residing in Broward

    County, Florida.

            6.          Defendant is a New Jersey Corporation, with its principal place of business located

    in Cherry Hill NJ 08003.

                                                DEMAND FOR JURY TRIAL

            7.          Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.

                                                 FACTUAL ALLEGATIONS

            8.          On a date better known by Defendant, Defendant began attempting to collect a debt

    (the "Consumer Debt") from Plaintiff.

            9.          The Consumer Debt is an obligation allegedly had by Plaintiff to pay money arising

    from a transaction between the creditor of the Consumer Debt, Santander Consumer USA, and

    Plaintiff involving a secured line of credit for the personal use of Plaintiff. (the "Subject Service").

            10.         The Subject Service was primarily for personal, family, or household purposes.

            11.         Defendant is a business entity engaged in the business of soliciting consumer debts

    for collection.

            12.         Defendant is a business entity engaged in the business of collecting consumer debts.

            13.         Defendant regularly collects or attempts to collect. directly or indirectly, debts

    owed or due or asserted to be owed or due another.

            14.         Defendant is registered with the Florida Office of Financial Regulation as a

    "Consumer Collection Agency.-

            15.         Defendant' s -Consumer Collection Agency- license number is C'CA0900813.



                                                                                                                       PAGE 12 of 7
                                          LAW OFFICES OF JIBRAEL S. HINDI, PLLC
                  110 SE 6th Street, 17th Floor I Ft. Lauderdale, Florida 3.3301 I Phone (954) 907-1136 I Fax (855) 529-9540
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 12 of 57




           16.         Defendant maintains all the records specified in Rule 69V-180.080. Florida

    Administrative Code.

           17.         The records specified by Rule 69V-180.080, Florida Administrative Code, of which

    Defendant does maintain, are current to within one week of the current date.

           18.         Defendant is a "debt collector" within the meaning of 15 U.S.C. § I692a(6).

           19.         Defendant is a "person" within the meaning of Fla. Stat. § 559.72.

           20.         On a date better known by Defendant, Defendant transmitted Plaintiffs personal

    information to a third-party (the "Third-Party").

           21.         The personal information Defendant transmitted to the Third-Party included, but

    was not limited to: 111 Plaintiffs name: 121 Plaintiffs address: 131 the existence of the Consumer

    Debt; 141 the amount of the consumer debt: 151 the creditor of the Consumer Debt; 161 that Plaintiff

    was the alleged debtor of the Consumer Debt: 171 information regarding the Subject Service: and

    181 that Plaintiff did not pay the Consumer Debt and/or defaulted on the Consumer Debt

    (collectively, the "Transmitted Information").

           22.         The Third-Party, of whom Defendant transmitted Plaintiffs personal information

    to. complied Plaintiffs personal information and prepared a letter that was to be sent to Plaintiff

    in an attempt to collect the Consumer Debt.

           23.         The Transmitted Information affected Plaintiff s reputation. For example, the

    transmission of such information affected Plaintiffs reputation regarding the repayment of debts,

    Plaintiffs reputation of truthfulness, Plaintiffs reputation of solvency, and Plaintiff s reputation

    regarding trustworthiness.

           24.         Defendant' s transmission of Plaintiff s personal information to the Third-Party was

    a communication in connection with the collect of the Consumer Debt.

                                                                                                                     PAGE 13 of 7
                                         LAW OFFICES OF JIBRAEL S. HINDI, PLLC
                 110 SE 6th Street, 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-1136 I Fax (855) 529-9540
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 13 of 57




           25.         In addition to transmitting Plaintiffs personal information to the Third-Party.

    Defendant also transmitted Plaintiff s personal information to other third-party entities in

    connection with the collection of the Consumer Debt. Defendant transmitted such information to

    these other third-party entities by. including but not limited to: [1J utilizing -skip trace- services;

    121 utilizing bankruptcy. SCRA. probate. and other "scrubbing- services; and 131 utilizing

    independent third-party contractors to attempt to collect the Consumer debt from Plaintiff.

           26.         On a date better known by Defendant, Defendant sent the letter prepared and/or

    complied by the Third-Party to Plaintiff, of which was internally dated December 3, 2020, (the

    "Collection Letter") in an attempt to collect the Consumer Debt.

           27.         Attached as Exhibit "A" is a copy of Collection Letter.

           28.         Defendant' s transmission of Plaintiff s personal information to the Third-Party is

    an explicit violation of § 1692c(b) of the FDCPA. See Hunstein v. Preferred Collection & Mgmt.

    Servs., No. 19-14434, 2021 U.S. App. LEXIS 11648 (11th Cir. Apr. 21, 2021) (a complete copy

    of the Hunstein opinion is attached as Exhibit "B").

           29.         The Collection Letter contains a bar code and/or Quick Response ("QR") code, of

    which are indicative of Defendane s use of the Third-Party to prepare, print, package, compile,

    and/or otherwise send the Collection Letter.

            30.        For Defendant-DC to maintain a valid consumer collection agency license with the

    Florida Department of State (so to otherwise lawfully collect, or attempt to collect, consumer debts

    from Florida consumers) Defendant knew it was required to tailor its (Defendant-DC' s) debt

    collector methods to be in compliance with both the FDCPA and FCCPA.

            31.        Defendant knew that the Transmitted Information constituted an unlawful

    transmission of Plaintiffs personal information in violation of § 1692c(b) of the FDCPA.

                                                                                                                      PAGE 14 of 7
                                         LAW OFFICES OF JIBRAEL S. HINDI, PLLC
                 110 SE 6th Street. 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-1136 I Fax (855) 529-9540
                                                               w
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 14 of 57




           32.        The Third-Party did not have any legitimate need for the Transmitted Information,

    as the Transmitted Information constituted an unlawful transmission of Plaintiff s personal

    information in violation of § 1692c(b) of the FDCPA.



                                                  COUNT 1
                                        VIOLATION OF 15 U.S.C. § 1692c(b)

           33.        Plaintiff incorporates by reference paragraphs 1-32 of this Complaint.

           34.        Pursuant to § 1692c(b) of the FDCPA, "a debt collector may not communicate, in

    connection with the collection of any debt, with any person other than the consumer, his attorney,

    a consumer reporting agency if otherwise permitted by law, the creditor, the attorney of the

    creditor, or the attorney of the debt collector." 15 U.S.C. 1692c(b) (emphasis added).

           35.        As set forth above, Defendant' s transmission of Plaintiff s personal information to

    the Third-Party violates § 1692c(b) of the FDCPA. See Hunstein, No. 19-14434, 2021 U.S. App.

    LEXIS 11648 (IN* hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in fact

    under Article III and (2) that the debt collector's transmittal of the consumer's personal information

    to its dunning vendor constituted a communication 'in connection with the collection of any debt'

    within the meaning of § 1692c(b).") Accordingly, Defendant violated § 1692c(b) of the FDCPA

    when it transmitted Plaintiff s personal information to the Third-Party.

           36.         WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

    against Defendant, awarding Plaintiff the following relief:

                       (a)       Statutory and actual damages as provided by 15 U.S.C. § 1692k;

                       (b)       Costs and reasonable attorneys' fees pursuant to 15 U.S.C. § 1692k; and

                       (c)       Any other relief that this Court deems appropriate under the circumstances.


                                                                                                                     PAGE I 5 of 7
                                         LAW OFFICES OF JIBR,AEL S. HINDI, PLLC
                 110 SE 6th Street. 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-1136 I Fax (855) 529-9540
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 15 of 57




                                                 COUNT 2
                                      VIOLATION OF FLA. STAT. 6 559.72(5)

           37.         Plaintiff incorporates by reference paragraphs 1-32 of this Complaint.

           38.         Pursuant to § 559.72(5) of the FCCPA, in collecting consumer debts, no person

    shall: "[clfisclose to a person other than the debtor or her or his family information affecting the

    debtor's reputation, whether or not for credit worthiness, with knowledge or reason to know that

    the other person does not have a legitimate business need for the information or that the

    information is false." Fla Stat. § 559.72(5) (emphasis added).

           39.         As set forth above, Defendant unlawfully transmitted Plaintiff s personal

    information, by and through the Transmitted Information, to the Third-Party, whereby said

    transmitted information affective Plaintiffs reputation because the Third-Party did not have any

    legitimate need for unlawfully transmitted personal information of Plaintiff.

           40.         WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

    against Defendant, awarding Plaintiff the following relief:

                       (a)       Statutory and actual damages pursuant to Fla. Stat. §559.77(2);

                       (b)       An injunction prohibiting Defendant from engaging in further collection
                                 activities directed at Plaintiff that are in violation of the FCCPA;

                       (c)       Costs and reasonable attorneys' fees pursuant to Fla. Stat. §559.77(2); and

                       (d)       Any other relief that this Court deems appropriate under the circumstances.

                             [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                                                                                                     PAGE 16 of 7
                                         LAW OFFICES OF JIBRAEL S. HINDI, PLLC
                 110 SE 6th Street, 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-1136 I Fax (855) 529-9540
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 16 of 57




          DATED: June 3, 2021
                                                                Respectfully Submitted,

                                                                 /s/ Jibrael S. Hindi
                                                                JIBRAEL S. HINDI, ESQ.
                                                                Florida Bar No.: 118259
                                                                E-mail: jibrael®jibraellaw.com
                                                                THOMAS J. PATTI, ESQ.
                                                                Florida Bar No.: 118377
                                                                E-mail: tom®jibraellaw.com
                                                                THE LAW OFFICES OF JIBRAEL S. HINDI
                                                                110 SE 6th Street, Suite 1744
                                                                Fort Lauderdale, Florida 33301
                                                                Phone:       954-907-1136
                                                                Fax:         855-529-9540




                                                                                                                   PAGE 17 of 7
                                      LAW OFFICES OF JIBRAEL S. HINDI, PLLC
            110 SE 6th Street.   17th Floor I Ft. Lauderdale, Florida 33801 I Phone (954) 907-1136 IFax (865) 629-9540
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 17 of 57




                        EXHIBIT "A"
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 18 of 57
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 19 of 57




                        EXHIBIT "B"
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 20 of 57

             USCA11 Case: 19-14434      Date Filed: 04/21/2021   Page: 1 of 23


                                                                           [PUBLISH]

                   IN THE UNITED STATES COURT OF APPEALS

                            FOR THE ELEVENTH CIRCUIT


                                      No. 19-14434


                       D.C. Docket No. 8:19-cv-00983-TPB-TGW


    RICHARD HUNS'TEIN,

                                                                   Plaintiff- Appellant,

                                         versus

    PREFERRED COLLECTION AND MANAGEMENT SERVICES, INC.,

                                                                 Defendant - Appellee.



                       Appeal from the United States District Court
                            for the Middle District of Florida


                                     (April 21, 2021)

    Before JORDAN, NEWSOM, and TJOFLAT, Circuit Judges.

    NEWSOM, Circuit Judge:

          This appeal presents an interesting question of first impression under the

    Fair Debt Collection Practices Act—and, like so many other cases arising under
Case 0:21-cv-61405-RS Document 1-2 Entered on FLSD Docket 07/08/2021 Page 21 of 57

              USCA11 Case: 19-14434       Date Filed: 04/21/2021    Page: 2 of 23



    federal statutes these days, requires us first to consider whether our plaintiff has

    Article HI standing.

          The short story: A debt collector electronically transmitted data concerning

    a consumer's debt—including his name, his outstanding balance, the fact that his

    debt resulted from his son's medical treatment, and his son's name—to a third-

    party vendor. The third-party vendor then used the data to create, print, and mail a

    "dunning" letter to the consumer. The consumer filed suit alleging that, in sending

    his personal information to the vendor, the debt collector had violated 15 U.S.C. §

    1692c(b), which, with certain exceptions, prohibits debt collectors from

    communicating consumers' personal information to third parties "in connection

    with the collection of any debt." The district court rejected the consumer's reading

    of § 1692c(b) and dismissed his suit. On appeal, we must consider, as a threshold

    matter, whether a violation of § 1692c(b) gives rise to a concrete injury in fact

    under Article III, and, on the merits, whether the debt collector's communication

    with its dunning vendor was "in connection with the collection of any debt."

           We hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in

    fact under Article III and (2) that the debt collector's transmittal of the consumer's

    personal information to its dunning vendor constituted a communication "in

    connection with the collection of any debt" within the meaning of § 1692c(b).




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    Accordingly, we reverse the judgment of the district court and remand for further

    proceedings.



          Congress enacted the FDCPA "to eliminate abusive debt collection practices

    by debt collectors" and "to protect consumers against debt collection abuses." 15

    U.S.C. § 1692(e). To that end, § 1692c(b) of the FDCPA, titled "Communication

    with third parties," provides that—

          Except as provided in section 1692b of this title, without the prior
          consent of the consumer given directly to the debt collector, or the
          express permission of a court of competent jurisdiction, or as
          reasonably necessary to effectuate a postjudgment judicial remedy, a
          debt collector may not communicate, in connection with the collection
          of any debt, with any person other than the consumer, his attorney, a
          consumer reporting agency if otherwise permitted by law, the creditor,
          the attorney of the creditor, or the attorney of the debt collector.

     15 U.S.C. § 1692c(b). The provision that § 1692c(b) cross-references—§ 1692b—

    governs the manner in which a debt collector may communicate "with any person

    other than the consumer for the purpose of acquiring location information." 15

    U.S.C. § 16926. The FDCPA thus broadly prohibits a debt collector from

    communicating with anyone other than the consumer "in connection with the

    collection of any debt," subject to several carefully crafted exceptions—some

    enumerated in § 1692c(b), and others in § 1692b.

          Richard Hunstein incurred a debt to Johns Hopkins All Children's Hospital

    arising out of his son's medical treatment. The hospital assigned the debt to
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    Preferred Collections & Management Services, Inc. for collection. Preferred in

    turn hired Compumail, a California-based commercial mail vendor, to handle the

    collection. Preferred electronically transmitted to Compumail certain information

    about Hunstein, including, among other things: (1) his status as a debtor, (2) the

    exact balance of his debt, (3) the entity to which he owed the debt, (4) that the debt

    concerned his son's medical treatment, and (5) his son's name. Compumail used

    that information to generate and send a dunning letter to Hunstein.

           Hunstein filed a complaint, alleging violations of both the FDCPA, see 15

    U.S.C. §§1692c(b) and 1692f, and the Florida Consumer Collection Practices Act,

    see Fla. Stat. § 559.72(5). As relevant here, the district court dismissed Hunstein's

    action for failure to state a claim, concluding that he hadn't sufficiently alleged that

    Preferred's transmittal to Compumail violated § 1692c(b) because it didn't qualify

    as a communication "in connection with the collection of a[ny] debt."




    1The district court held for the same reason that Hunstein had not stated a claim for a violation
    of § 1692f. The district court then declined to accept supplemental jurisdiction over Hunstein's
    state law claim. Hunstein's appeal addresses only the portion of his complaint relating to
    § 1692c(b).

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           Hunstein appealed, and we requested supplemental briefmg on the question

    whether he had Article III standing to sue, which we now consider along with the

    merits.2

                                                    II

           First things first. Because standing implicates our subject matter

    jurisdiction, we must address it at the outset, before turning to the merits. Steel Co.

    v. Citizens for a Better Env 't, 523 U.S. 83,101-02 (1998). Article III of the

    Constitution grants federal courts "judicial Power" to resolve "Cases" and

    "Controversies." U.S. Const. art. III, §§ 1-2. This case-or-controversy

    requirement, which has been construed to embody the doctrine of standing,

    "confines the federal courts to a properly judicial role." Spokeo, Inc. v. Robins,

    136 S. Ct. 1540,1547 (2016). The "irreducible constitutional minimum" of Article

    III standing entails three elements: injury in fact, causation, and redressability.

    Lujan v. Defs. of Wildlife, 504 U.S. 555,560-561 (1992).

           Hunstein's appeal involves the first element, injury in fact, which consists of

    "an invasion of a legally protected interest" that is both "concrete and


    2 Whether Hunstein has standing to sue is a threshold jurisdictional question that we review de
    novo. Debernardis v. IQ Formulations, LLC, 942 F.3d 1076, 1083 (11th Cir. 2019). "We
    review the decision to dismiss Plaintiff's complaint pursuant to Rule 12(b)(6) de novo, applying
    the same standard as the district court." Holzman v. Malcolm S. Gerald & Assocs., Inc., 920
    F.3d 1264, 1268 (11th Cir. 2019). Accepting the complaint's allegations as true and construing
    the facts in the light most favorable to Hunstein, "the relevant inquiry is whether Plaintiff has
    stated a 'plausible claim for relief' under the FDCPA." Id. (quoting Ashcroft v. Iqbal, 556 U.S.
    662, 679 (2009)).

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    particularized" and "actual or imminent, not conjectural or hypothetical." Id. at

    560 (quotation marks omitted). In Trichell v. Midland Credit Mgmt, Inc., 964

    F.3d 990 (11th Cir. 2020), a case involving the FDCPA, we reiterated that "[e]ach

    subsidiary element of injury—a legally protected interest, concreteness,

    particularization, and imminence—must be satisfied." Id. at 996-97. The standing

    question here implicates the concreteness sub-element.

          A plaintiff can meet the concreteness requirement in any of three ways.

    First, he can allege a tangible harm—a category that is "the most obvious and

    easiest to understand" and that includes, among other things, physical injury,

    financial loss, and emotional distress. See Muransky v. Godiva Chocolatier, Inc.,

    979 F.3d 917, 926 (11th Cir. 2020) (en banc); see also Huff v. TeleCheck Servs.,

    Inc., 923 F.3d 458, 463 (6th Cir. 2019). Second, a plaintiff can allege a "risk of

    real harm." Muransky, 979 F.3d at 927. Third, in the absence of a tangible injury

    or a risk of real harm, a plaintiff can identify a statutory violation that gives rise to

    an intangible-but-nonetheless-concrete injury. Spoke°, 136 S. Ct. at 1549. We

    consider each possibility in turn.

                                                A

          Hunstein doesn't allege a tangible harm. The complaint contains no

    allegations of physical injury, financial loss, or emotional distress. Instead, the

    complaint (1) conclusorily asserts that "[i]f a debt collector 'conveys information

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    regarding the debt to a third party—informs the third party that the debt exists or

    provides information about the details of the debt—then the debtor may well be

    harmed by the spread of this information,' and (2) vaguely references the "known,

    negative effect that disclosing sensitive medical information to an unauthorized

    third-party has on consumers[.]" In his supplemental brief, Hunstein asks us to

    construe these assertions as allegations of emotional harm, arguing that he was

    "humiliated, embarrassed, and suffered severe anxiety[.]" But we have "repeatedly

    held that an issue not raised in the district court and raised for the first time in an

    appeal will not be considered by this court." Access Now, Inc. v. Sw. Airlines Co.,

    385 F.3d 1324, 1331 (11th Cir. 2004) (quotation marks omitted). Hunstein thus

    cannot establish standing on the basis of a tangible harm.



          Nor can Hunstein demonstrate standing by the second route—showing a

    "risk of real harm." "[W]hile very nearly any level of direct injury is sufficient to

    show a concrete harm, the risk-of-harm analysis entails a more demanding

    standard—courts are charged with considering the magnitude of the risk."

    Muransky, 979 F.3d at 927. "Factual allegations that establish a risk that is

    substantial, significant, or poses a realistic danger will clear this bar[.]" Id. at 933.

    Put slightly differently, to constitute injury in fact, the "threatened injury must be

    certainly impending." Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409 (2013).


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    Again, Hunstein alleges only that a debtor "may well be harmed by the spread" of

    the sort of information at issue here. That vague allegation falls short of a risk that

    is "substantial, significant, or poses a realistic danger," Muransky, 979 F.3d at 933,

    or is "certainly impending," Clapper, 568 U.S. at 409.



          We thus consider whether Hunstein can show standing in the third manner—

    through a statutory violation. "[The violation of a procedural right granted by

    statute can be sufficient in some circumstances to constitute injury in fact," such

    that "a plaintiff. . . need not allege any additional harm beyond the one Congress

    has identified." Spokeo, 136 S. Ct. at 1549. Spokeo instructs that in determining

    whether a statutory violation confers Article III standing, we should consider

    "history and the judgment of Congress." Id.

                                               1

           Starting with history, we can discern a concrete injury where "intangible

    harm has a close relationship to a harm that has traditionally been regarded as

    providing a basis for a lawsuit in English or American courts." Id. Put differently,

    we look to "whether the statutory violation at issue led to a type of harm that has

    historically been recognized as actionable." Muransky, 979 F.3d at 926.

    Muransky explains that the "fit between a new statute and a pedigreed common-




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    law cause of action need not be perfect, but we are called to consider at a minimum

    whether the harms match up between the two." Id.

          For more than a century, invasions of personal privacy have been regarded

    as a valid basis for tort suits in American courts. See, e.g., Pavesich v. New

    England Life Ins. Co., 122 Ga. 190,50 S.E. 68 (1905); Munden v. Harris, 153 Mo.

    App. 652, 134 S.W. 1076 (1911); Kunz v. Allen, 102 Kan. 883, 172 P. 532 (1918).

    By 1977, the Restatement (Second) noted that "the existence of a right of privacy

    is now recognized in the great majority of the American jurisdictions that have

    considered the question." Restatement (Second) of Torts § 652A cmt. a. (Am. Law

    Inst. 1977).

           More particularly, the term "invasion of privacy" comprises an identifiable

    family of common-law torts—including, most relevantly here, "public disclosure

    of private facts." Invasion ofPrivacy, Black's Law Dictionary 952 (10th ed.

    2014). It is hornbook law that lo]ne who gives publicity to a matter concerning

    the private life of another is subject to liability to the other for invasion of his

    privacy, if the matter publicized is of a kind that (a) would be highly offensive to a

    reasonable person, and (b) is not of legitimate concern to the public." Restatement

    (Second) of Torts § 652D (1977); accord, e.g., 77 C.J.S. Right of Privacy and

    Publicity § 32; 62A Am. Jur. 2d Privacy § 79. Indeed, the Supreme Court itself

    has recognized "the individual interest in avoiding disclosure of personal matters"


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    and has recognized that "both the common law and the literal understandings of

    privacy encompass the individual's control of information concerning his or her

    person." United States Dep't ofJustice v. Reporters Comm. for Freedom of the

    Press, 489 U.S. 749, 763 (1989) (citation and quotation marks omitted).

          Having established the historical pedigree of invasion-of-privacy torts—in

    particular, the sub-species applicable to the public disclosure of private facts—we

    next consider whether Preferred's alleged statutory violation is sufficiently

    analogous. Notably, the FDCPA's statutory findings explicitly identify "invasions

    of individual privacy" as one of the harms against which the statute is directed. 15

    U.S.C. § 1692(a). And to that end, the statutory provision under which Hunstein

    has sued here expressly prohibits a debt collector from "communicat[ing]" with

    any but a few persons or entities "in connection with the collection of any debt."

    Id. § 1692c(b). Although § 1692c(b) isn't identical in all respects to the invasion-

    of-privacy tort, we have no difficulty concluding that it bears "a close relationship

    to a harm that has traditionally been regarded as providing a basis for a lawsuit in

    English or American courts." Spokeo, 136 S. Ct. at 1549.

          Perry v. Cable News Network, Inc., 854 F.3d 1336 (11th Cir. 2017), strongly

    supports that conclusion. Perry concerned a plaintiff's allegations that CNN

    divulged his news-viewing history to a third-party in violation of the Video

    Privacy Protection Act. Emphasizing the widespread recognition both of the right


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    to privacy in general and, more particularly, the privacy interest implicated by the

    VPPA—the interest in preventing the disclosure of personal information—the

    Court in Perry concluded that the statutory violation of the VPPA constituted a

    cognizable Article III injury. Id. at 1341 (citing Reporters, 489 U.S. at 762-63).

    Hunstein's allegations closely resemble those in Perry. The VPPA prohibits "[a]

    video tape service provider [from] knowingly disclos[ing], to any person,

    personally identifiable information concerning any consumer of such provider."

    18 U.S.C. § 2710(b). As relevant here, the FDCPA similarly prohibits a debt

    collector from "communicat[ing], in connection with the collection of any debt,

    with any person other than the consumer[.]" §1692c(b). The two statutes thus

    share a common structure—A may not share information about B with C. Because

    we find Perry's reasoning persuasive and analogous, we adopt it here.

          Our decision in Trichell does not require a contrary conclusion. That case

    addressed a claim under a different FDCPA provision, § 1692e, which states that a

    "debt collector may not use any false, deceptive, or misleading representation or

    means in connection with the collection of any debt." 15 U.S.C. § 1692e. The

    plaintiffs in Trichell alleged that debt collectors had sent them misleading letters,

    and in assessing their claims' pedigree, we determined that the "closest historical

    comparison is to causes of action for fraudulent or negligent misrepresentation."

    964 F.3d at 998. Canvassing the common-law history of those torts, we held that


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    the plaintiffs' claims lacked the necessary "close relationship" to them. Id. at 997-

    98. That conclusion is entirely consistent with our holding here that Hunstein has

    standing to sue under a different FDCPA provision. Hunstein's claim, unlike the

    Trichell plaintiffs', arises under § 1692c(b) and bears a close relationship to a

    common-law tort.

                                              2

           Although it presents a closer question, we conclude that "the judgment of

    Congress" also favors Hunstein. Congress, of course, expresses its "judgment" in

    only one way—through the text of duly enacted statutes. Even assuming that

    § 1692c(b) does not clearly enough express Congress's judgment that injuries of

    the sort that Hunstein alleges are actionable, here Congress went further to

    "explain itself." Huff 923 F.3d at 466. In particular, as already noted, in a section

    of the FDCPA titled "Congressional findings and declaration of purpose,"

    Congress identified the "invasion[] of individual privacy" as one of the harms

    against which the statute is directed. 15 U.S.C. § 1692(a). That, we think, is

    sufficient.

           It's true that we pointed in Trichell to the FDCPA's language that a person

    may recover "any actual damage sustained by such person as a result of" an

    FDCPA violation and "such additional damages as the court may allow," 15

    U.S.C. § 1692k(a), as evidence of Congress's judgment that violations of a


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    different provision—§ 1692e—do not ipso facto constitute a concrete injury.

    Trichell, 964 F.3d at 1000. We don't read § 1692k(a), though, as categorically

    limiting the class of FDCPA plaintiffs to those with actual damages—particularly

    where, as here, the FDCPA's statutory findings expressly address the very harm

    alleged—an "invasion[] of individual privacy." 15 U.S.C. § 1692(a).
                                           *   *     *


          Because (1) § 1692c(b) bears a close relationship to a harm that American

    courts have long recognized as cognizable and (2) Congress's judgment indicates

    that violations of §1692c(b) constitute a concrete injury, we conclude that Hunstein

    has the requisite standing to sue.

                                               III

          Having determined that Hunstein has standing to sue under § 1692c(b), we

    now consider the merits of his case. Recall that § 1692c(b) states that, subject to

    several exceptions, "a debt collector may not communicate, in connection with the

    collection of any debt," with anyone other than the consumer. 15 U.S.C.

    § 1692c(b). The parties agree that Preferred is a "debt collector," that Hunstein is a

    "consumer," and that the alleged debt at issue here was a "consumer debt," all

    within the meaning of § 1692c(b). Helpfully, the parties also agree that Preferred's

    transmittal of Hunstein's personal information to Compumail constitutes a




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    "communication" within the meaning of the statute.3 Accordingly, the sole

    question before us is whether Preferred's communication with Compumail was "in

    connection with the collection of any debt," such that it violates §1692c(b).

    Hunstein contends that the plain meaning of the phrase "in connection with the

    collection of any debt" and relevant precedents show that it was and does.

    Preferred, conversely, urges us to adopt a "factor-based analysis" that shows that, it

    says, its communication with Compumail was not "in connection with the

    collection of any debt."

           We begin with the plain meaning of the phrase "in connection with" and its

    cognate word, "connection." Dictionaries have adopted broad definitions of both.

    Webster's Third defines "connection" to mean "relationship or association."

    Connection, Webster's Third International Dictionary at 481 (1961), and the

    Oxford Dictionary of English defines the key phrase "in connection with" to mean

    "with reference to [or] concerning," In Connection With, Oxford Dictionary of

    English at 369 (2010). Usage authorities further explain that the phrase "in




    3 Section 1692a(2) defines communication as "the conveying of information regarding a debt
    directly or indirectly to any person through any medium." 15 U.S.C. § 1692a(2).

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    connection with" is "invariably a vague, loose connective." Bryan A. Gamer,

    Garner's Dictionary of Legal Usage 440 (3d ed. 2011).

          Preferred's transmittal to Compumail included specific details regarding

    Hunstein's debt: Hunstein's status as a debtor, the precise amount of his debt, the

    entity to which the debt was owed, and the fact that the debt concerned his son's

    medical treatment, among other things. It seems to us inescapable that Preferred's

    communication to Compumail at least "concerned," was "with reference to," and

    bore a "relationship [or] association" to its collection of Hunstein's debt. We thus

    hold that Hunstein has alleged a communication "in connection with the collection

    of any debt" as that phrase is commonly understood.

          Preferred resists that conclusion on three different grounds, which we

    address in turn.

                                               A

          First, Preferred relies on our interpretation of another FDCPA provision,

    § 1692e, to argue that communications "in connection with the collection of any

    debt" necessarily entail a demand for payment. In relevant part, § 1692e states that

    "[a] debt collector may not use any false, deceptive, or misleading representation

    or means in connection with the collection of any debt." 15 U.S.C. § 1692e

    (emphasis added). In the line of cases interpreting the meaning of "in connection

    with the collection of any debt" in § 1692e, we have focused on the language of the


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    underlying communication. In Reese v. Ellis, Painter, Ratterree & Adams, LLP,

    for instance, in concluding that a law firm's letter to a consumer was "in

    connection with the collection of any debt" within the meaning of § 1692e, we

    emphasized that the letter expressly stated that the firm was attempting to collect a

    debt and was acting as a debt collector, demanded full and immediate payment,

    and threatened to add attorneys' fees to the outstanding balance if the debtors

    didn't pay. 678 F.3d 1211, 1217 (11th Cir. 2012). Similarly, in Caceres v.

    McCalla Raymer, LLC, we held that a collection letter constituted a

    "communication in connection with the collection of a[ny] debt" under § 1692e for

    similar reasons. Quoting the letter, we emphasized "that it is 'for the purpose of

    collecting a debt;' it refers in two additional paragraphs to 'collection efforts;' it

    states that collections efforts will continue and that additional attorneys' fees and

    costs will accrue; it states the amount of the debt and indicates that it must be paid

    in certified funds; and it gives the name of the creditor and supplies the law firm's

    phone number in the paragraph where it talks about payments." 755 F.3d 1299,

    1301-03 (11th Cir. 2014).

          Relying on Caceres and Reese—both of which, again, addressed § 1692e—

    the district court here adopted the following test:

          When determining whether a communication was made in connection
          with the collection of a[ny] debt, the courts look to the language of the
          communication itself to ascertain whether it contains a demand for
          payment and warns of additional fees or actions if payment is not
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          tendered. Consequently, when determining whether the transmission
          of information to a third party constitutes a violation of the FDCPA, it
          is important to consider whether the communication makes an express
          or implied demand for payment.

          The district court's conclusion that the phrase "in connection with the

    collection of any debt" necessarily entails a demand for payment defies the

    language and structure of § 1692c(b) for two separate but related reasons—neither

    of which applies to § 1692e. First, the demand-for-payment interpretation would

    render superfluous the exceptions spelled out in §§ 1692c(b) and 1692b. Consider

    as an initial matter the exceptions specified in § 1692c(b) itself: "[A] debt

    collector may not communicate, in connection with the collection of any debt, with

    any person other than the consumer, his attorney, a consumer reporting agency if

    otherwise permitted by law, the creditor, the attorney of the creditor, or the

    attorney of the debt collector[.]" 15 U.S.C. § 1692c(b) (emphasis added).

    Communications with four of the six excepted parties—a consumer reporting

    agency, the creditor, the attorney of the creditor, and the attorney of the debt

    collector—would never include a demand for payment. The same is true of the

    parties covered by § 1692b and, by textual cross-reference, excluded from

    § 1692c(b)'s coverage: "person[s] other than the consumer" with whom a debt

    collector might communicate "for the purpose of acquiring location information




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    about the consumer." Id. § 1692b. A debt collector would presumably never make

    a demand for payment of a party matching that description.

          The upshot is that the phrase "in connection with the collection of any debt"

    in § 1692c(b) must mean something more than a mere demand for payment.

    Otherwise, Congress's enumerated exceptions would be redundant. Under the

    district court's demand-for-payment interpretation, Congress wouldn't have

    needed to include exceptions for communications with consumer reporting

    agencies, creditors, attorneys of creditors, attorneys of debt collectors, or persons

    providing a debtor's location information; those communications would have been

    foreclosed ipso facto by the phrase "in connection with the collection of any debt."

    It is a "cardinal principle of statutory construction" that "a statute ought, upon the

    whole, to be so construed that, if it can be prevented, no clause, sentence, or word

    shall be superfluous[.]" Duncan v. Walker, 533 U.S. 167, 174 (2001) (quotation

    marks omitted); accord, e.g., Antonin Scalia & Bryan A. Garner, Reading Law:

    The Interpretation of Legal Texts 174 (2012) ("If possible, every word and every

    provision is to be given effect . . . . None should be ignored. None should

    needlessly be given an interpretation that causes it to duplicate another provision or

    to have no consequence."). Because it is possible—and indeed, we think, more




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    natural—to interpret § 1692c(b) in a way that does not render most of its textually

    specified exceptions redundant, we will do so.

          Second, and relatedly, the district court's interpretation renders yet another

    portion of § 1692c(b) meaningless. By insisting on a demand for payment, the

    district court essentially interpreted "in connection with the collection of any debt"

    to mean "to collect any debt." Under this interpretation, the key phrase "in

    connection with" has no independent meaning or force. But as just explained, we

    have a duty to "give effect, if possible, to every clause and word of a statute[.]"

    Duncan, 533 U.S. at 174.

          The district court seems to have been led astray by its reliance on decisions

    interpreting § 1692e, whose language and operation are different from

    § 1692c(b)'s in important respects. As a linguistic matter, § 1692e contains none

    of the specific exceptions that § 1692c(b) does; accordingly, there was no risk in

    Reese or Caceres that, by reading a "demand for payment" gloss into § 1692e, we

    would render other portions of that statute redundant or meaningless. And as an

    operational matter, § 1692e—which prohibits "false, deceptive, or misleading

    representation or means in connection with the collection of any debt"—covers the

    sorts of claims that are brought by recipients of debt collectors' communications—

    i.e., debtors. See Caceres, 755 F.3d at 1300-1301 (case brought by recipient of

    letter, the debtor); Reese, 678 F.3d at 1214 (same). As its title indicates, by


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    contrast, § 1692c(b), targets debt collectors' Iciommunication with third parties,"
    not debtors. In the typical § 1692c(b) case, the debtor isn't the recipient of the

    challenged communication. Linguistic differences aside, this practical operational

    difference undermines any argument that the meaning of the phrase "in connection

    with the collection of any debt" must necessarily be the same in § 1692c(b) as in §

    1692e.



          Preferred separately urges us to adopt the holistic, multi-factoring balancing

    test that the Sixth Circuit decreed in its unpublished opinion in Goodson v. Bank of

    Am., NA., 600 Fed. Appx. 422 (6th Cir. 2015). That test counsels courts

    confronting § 1692e's "in connection with the collection of any debt" language to

    take into account the following seven considerations:

           (1) the nature of the relationship of the parties; (2) whether the
           communication expressly demanded payment or stated a balance due;
           (3) whether it was sent in response to an inquiry or request by the
           debtor; (4) whether the statements were part of a strategy to make
           payment more likely; (5) whether the communication was from a debt
           collector; (6) whether it stated that it was an attempt to collect a debt;
           and (7) whether it threatened consequences should the debtor fail to
           pay.

    Goodson, 600 F. App'x at 431. We decline Preferred's invitation for two related

    reasons.

             First, and perhaps most obviously, Goodson and the cases that have relied on

    it concern § 1692e—not § 1692c(b). And as just explained, §§ 1692c(b) and
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    1692e differ both (1) linguistically, in that the former includes a series of

    exceptions that an atextual reading risks rendering meaningless, while the latter

    does not, and (2) operationally, in that they ordinarily involve different parties.

    Goodson's seventh factor—whether the communication threatened consequences

    should the debtor fail to pay—illustrates this point. It makes little sense for a debt

    collector to threaten consequences should the debtor fail to pay in a

    communication that is not sent to the debtor himself.

           Second, we believe that in the context of § 1692c(b), the phrase "in

    connection with the collection of any debt" has a discernible ordinary meaning that

    obviates the need for resort to extratextual "factors." All too often, multifactor

    tests—especially seven-factor tests like Goodson's—obscure more than they

    illuminate. Parties to FDCPA-governed transactions—debtors, creditors, debt

    collectors, lawyers, etc.—are entitled to guidance about the scope of permissible

    activity. They are likelier to get it even from a broadly framed statutory language

    than from a judge-made gestalt.



           Lastly, Preferred makes what we'll call an "industry practice" argument. It

    contrasts what it says is the widespread use of mail vendors like Compumail and

    the relative dearth of FDCPA suits against them. More particularly, Preferred

     identifies cases involving mail vendors and emphasizes that none of them hold that


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    a debt collector's mail vendor violated the FDCPA. True enough, but none of the

    cases that Preferred cites involved § 1692c(b) claims, and the courts in those cases

    certainly had no obligation to sua sponte determine whether the collectors'

    communications to their vendors violated § 1692c(b). That this is (or may be) the

    first case in which a debtor has sued a debt collector for disclosing his personal

    information to a mail vendor hardly proves that such disclosures are lawful.

          One final (and related) point: It's not lost on us that our interpretation of

    § 1692c(b) runs the risk of upsetting the status quo in the debt-collection industry.

    We presume that, in the ordinary course of business, debt collectors share

    information about consumers not only with dunning vendors like Compumail, but

    also with other third-party entities. Our reading of § 1692c(b) may well require

    debt collectors (at least in the short term) to in-source many of the services that

    they had previously outsourced, potentially at great cost. We recognize, as well,

    that those costs may not purchase much in the way of "real" consumer privacy, as

    we doubt that the Compumails of the world routinely read, care about, or abuse the

    information that debt collectors transmit to them. Even so, our obligation is to

    interpret the law as written, whether or not we think the resulting consequences are

    particularly sensible or desirable. Needless to say, if Congress thinks that we've




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    misread § 1692c(b)—or even that we've properly read it but that it should be

    amended—it can say so.

                                              Iv

          To sum up, Hunstein has Article DI standing to bring his claim under

    § 1692c(b). Further, because Preferred's transmittal of Hunstein's personal debt-

    related information to Compumail constituted a communication "in connection

    with the collection of any debt" within the meaning of § 1692c(b)'s key phrase,

    Hunstein adequately stated a claim.

          REVERSED and REMANDED.




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                 IN THE COUNTY COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                           IN AND FOR BRO WARD COUNTY, FLORIDA

                                                                 Case No.
         EDWIN ETIENNE,

                 Plaintiff,
         V.

         MRS BPO, LLC,

                  Defendant.


               PLAINTIFFS FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

                  Plaintiff Edwin Etienne, by and through undersigned counsel, and pursuant to Florida Rules
         of Civil Procedure 1.350, and requests Defendant MRS BPO, LLC, to produce for inspection and
         copying within thirty (30) days from service the following documents by e-mail to
         Loin tijibraellzm .com, or in the event delivery of Defendant's responses and the requested
         documents cannot be provided via e-mail, the same may be delivered to The Law Offices ofJibrael
         S. Hindi 110 SE 6th Street, Suite 1700, Fort Lauderdale, Florida 33301.

         I.       DEFINITIONS

         (1)      "Action" shall mean the above captioned matter.

         (2)      "Any," "All," and "each" shall be construed as any, all and each.

         (3)      "And" shall mean and/or.

         (4)      "Concern," "concerning," "refer," "referring," "relate, " "relating," "regard," or
                  "regarding" shall all mean documents which explicitly or implicitly, in whole or in part,
                  compare, were received in conjunction with, or were generated as a result of the subject
                  matter of the request, including all documents which reflect, record, specify, memorialize,
                  relate, describe, discuss, consider, concern, constitute, embody, evaluate, analyze, refer to,
                  review, report on, comment on, impinge upon, or impact the subject matter of the request;

         (5)      "Complaint" means the operative Complaint filed in the above captioned action.

         (6)      "Collection Letter" shall refer to Exhibit "A" attached to the Complaint.

         (7)      "Communication" or "sent" includes every manner or means of disclosure, transfer, or
                  exchange of information, and/or attempt thereof, and every disclosure, transfer or exchange


                                                                                                                           PAGE I 1   Of 5
                                            LAW OFFICES OF JIBRAEL S. HINDI, PLLC
                     110 SE 6th Street. 17th Floor ; Ft. Lauderdale. Florida 33301 I Phone (954) 907-1136 Fax (855) 529-9540
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           of information, whether orally or by document or whether face-to-face, by telephone, mail,
           electronic mail, personal delivery, or otherwise, and/or attempt thereof.

    (8)    "Defendant," "you," and "you?' shall mean MRS BPO, LLC, any of its directors, officers,
           sales, agents, managers, supervisors, general agents, agents (including attorneys,
           accountants, consultants, investment advisors or bankers), employees, representatives and
           any other persons purporting to act on their behalf. These defined terms include divisions,
           affiliates, subsidiaries, predecessor entities, acquired entities and/or related entities or any
           other entity acting or purporting to act on its behalf, including those who sought to
           communicate with Plaintiff during the relevant time-period whether by letter, e-mail, text
           message, or any other medium, regardless of whether successful or unsuccessful.

    (9)    "Debt" shall refer to the obligation or purported obligation which Defendant sought to
           collect from Plaintiff in the Collection Letter.

    (10)   "Document" means the original, and all non-identical copies (whether different from the
           original because of additional notations or otherwise), of all written, printed, typed,
           recorded, electronically or digitally stored, or graphic matter, however produced or
           reproduced, in the actual or constructive possession, custody, or control of plaintiff
           including, without limitation, all writings, drawings, graphs, charts, photographs,
           photographic records, sound reproduction tapes, data compilations (whether tangible or
           intangible from which information can be obtained, discerned, or can be translated through
           detection devices into a reasonably usable tangible form), correspondence, memoranda,
           data, notes of conversations, diaries, papers, letters, e-mail communications, telegrams,
           messages of any kind, minutes of meetings, stenographic or hand-typed and written notes,
           appraisals, bids, account books, checks, invoices, ledgers, agreements, studies, estimates,
           reports, instructions, requests, pamphlets, brochures, applications, returns, pictures, books,
           journals, ledgers, corporate records, accounts, contracts, leaflets, administrative or
           governmental reports or returns, exhibits, maps, surveys, sketches, microfilm, Xerox or
           any other tangible things which constitute or contain matters within the scope of the Florida
           Rules of Civil Procedure.

    (11)   "FCCPA" means the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq.

    (12)   "FDCPA" means the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

    (13)   "Including" means: (a) including, but not limited to, or (b) including, without limitation.
           Any examples which follow these phrases are set forth to clarify the request, definition or
           instruction, not limited to the request, definition or instruction.

    (14)   "Identify" with respect to natural person, means to give, to the extent known, the person's
           full name, present or last known address, and when referring to a natural person,
           additionally, the present or last known place of employment. Once a person has been
           identified in accordance with this paragraph, only the name of that person need be listed in
           response to subsequent discovery requesting the identification of that person.

                                                                                                                      PAGE   I 2 of 5
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    (15)   "Or" shall mean and/or.

    (16)   "Payment" shall include all available methods of funds tender, including but not limited
           to: cash; money order, a negotiable instrument such as a check, note, or draft; an ACH
           debit; bank, wire, or electronic-funds transfer; and, credit-card payment.

    (17)   "Person" or "Persons" shall mean natural persons, proprietorships, joint ventures,
           partnerships, corporations, trust, groups, associations, organizations, governmental
           agencies and all other entities.

    (18)   "Plaintiff' or "Plaintiff s" shall mean Edwin Etienne.

    (19)   "Relevant time period," "relevant period" or "during the relevant period" refers to a finite
           length of time, the duration of which is uninterrupted, that begins three years prior to
           commencement of the above captioned action, and ends on June 3, 2021.

    (20)   The phrase "as defined by the FDCPA" shall refer to the meaning and/or definition of a
           particular word or phrase set forth under 15 U.S.C. § 1692a.

    (21)   The phrase "as defined by the FCCPA" shall refer to the meaning and/or definition of a
           particular word or phrase set forth under Fla. Stat., § 559.55.

    II.     INSTRUCTIONS

            Each of the following requests is continuing, and in the event that at any later date you obtain
    or discover any additional document responsive to any request, you shall submit such document
    promptly. If an objection is made to any request herein, all documents covered by the request not
    subject to the objection should be produced. Similarly, if an objection is made to production of a
    document, the portion(s) of that document not subject to objection should be produced with the
    portion(s) objected to deleted and indicated clearly.

             Each document is to be produced in its entirety even if only a portion of the document is
    related to the identified subject matter and without abbreviation, editing, or expurgation and including
    all appendices, tables, or other attachments. If an appendix, table, or other attachment is not presented
    with the original but is attached to a copy thereof or is otherwise available, it should be submitted and
    clearly marked to indicate the document to which it corresponds. With the exception of privileged
    material, no document or portion thereof should be masked or deleted in any manner. To the extent
    possible, documents should be produced in the same order and arrangement as in the file form which
    they are taken.

            Unless otherwise requested, in lieu of producing original documents, you may produce
    photocopies, provided that you shall retain the original documents and produce them to the Plaintiff
    upon request. Further, copies of original documents may be submitted in lieu of originals only if they
    are true, correct, and complete copies of the original documents, and their submission constitutes a

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    waiver of any claim as to the authenticity of the copy should it be necessary to introduce such copy
    into evidence in any legal proceeding. Please provide color copies of any document originally
    produced in color or containing type, writing, or other marks in any color other than black.

              In the event such file(s) or documents(s) has (have) been removed, either for the purpose of
    this action or for some other purpose, please state the name and address of the person who removed
    the file, the title of the file and each sub-file, if any, maintained within the file, and the present location
    of the file. If you choose to withhold from production for inspection and copying on the ground of
    privilege or the like, it is requested that you provide the following information: date, type of
    document, author, addressee or recipient, present location, custodian, number of pages, general
    description, privilege claimed, and any other pertinent information.

    III.    PRODUCTION REQUESTS

           The following documents are requested to be produced. Please contact undersigned
    counsel, or have your attorney contact undersigned counsel if you are represented by an attorney,
    if you are uncertain as to the meaning of a term is or if you need additional information to
    understand a request.

    (1)     Copies of the documents that Defendant sent to Plaintiff during the two (2) years prior to
            the commencement of the above-captioned action.

    (2)     Copies of the documents utilized or referenced by Defendant to create or draft the
            Collection Letter.

    (3)     Copies of the documents, including manuals, instructions and guidelines, setting forth the
            policies and procedures of debt collection employed by Defendant during the two (2) years
            prior to the commencement of the above-captioned action.

    (4)     A complete copy of any insurance policies covering Defendant for violations of the
            FDCPA or FCCPA during the relevant period.

    (5)     All documents relied or referenced by Defendant in responding to the Interrogatories
            propounded on Defendant in the above-captioned action.

    (6)     Copies of all reports and documents utilized by an expert which Defendant proposes to call
            at trial.

    (7)     All exhibits which Defendant proposes to introduce at trial.




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                110 SE 6th Street, 17th Floor Ft. Lauderdale. Florida 33301 I Phone (954) 907-1136 i Fax (855) 529-9540
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    DATED: June 3, 2021
                                                                Respectfully Submitted,

                                                                 /s/ Thomas J. Patti
                                                                THOMAS J. PATTI, ESQ.
                                                                Florida Bar No.: 118377
                                                                E-mail: tom@jibraellaw.com
                                                                The Law Offices of Jibrael S. Hindi
                                                                110 SE 6th Street, Suite 1744
                                                                Fort Lauderdale, Florida 33301
                                                                Phone:     954-907-1136
                                                                Fax:       855-529-9540

                                                                 COUNSEL FOR PLAINTIFF

                                           CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on June 3, 2021, I electronically filed the foregoing document
    with the Clerk of the Court using the Florida Courts E-Filing Portal. I also certify that the foregoing
    document is being served on opposing counsel via e-mail.

                                                                       /s/ Thomas J. Patti
                                                                      THOMAS J. PATTI, ESQ.
                                                                      Florida Bar No.: 118377




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                  IN THE COUNTY COURT OF THE BROWARD JUDICIAL CIRCUIT
                           IN AND FOR BROWARD COUNTY, FLORIDA

                                                                Case No.
        EDWIN ETIENNE,

                Plaintiff,
        V.

         MRS BPO, LLC,

                Defendant.


                                         PLAINTIFFS NOTICE OF
                                SERVING INTERROGATORIES TO DEFENDANT

                Plaintiff Edwin Etienne, by and through undersigned counsel, and pursuant to Florida Rules

         of Civil Procedure 1.340, hereby propounds the attached interrogatories to Defendant MRS BPO,

         LLC. Sworn answers to these Interrogatories must be furnished on or before the 30th day after the

         service of these Interrogatories.

                                                CERTIFICATE OF SERVICE

                 The undersigned hereby certifies that on June 3, 2021, the foregoing was electronically

         filed with the Clerk of the Court using the Florida Courts E-Filing Portal which will send a notice

         of electronic filing to all counsel of record.

                                                                        /s/ Thomas J. Patti
                                                                       THOMAS J. PATTI, ESQ.
                                                                       Florida Bar No.: 118377
                                                                       E-mail: tom@jibraellaw.com
                                                                       The Law Offices ofJibrael S. Hindi
                                                                       110 SE 6th Street, Suite 1744
                                                                       Fort Lauderdale, Florida 33301

                                                                       COUNSEL FOR PLAINTIFF




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                    110 SE 6th Street, 17th Floor I Ft. Lauderdale, Florida 33301 I Phone (954) 907-1136! Fax (855) 529-9540
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            PLAINTIFFS FIRST SET OF INTERROGATORIES TO DEFENDANT

           DEFINITIONS

           "Action" shall mean the above captioned matter.

           "Any," "All," and "each" shall be construed as any, all and each.

           "And" shall mean and/or.

           "Concern," "concerning," "refer," "referring," "relate, " "relating," "regard," or
           "regarding" shall all mean documents which explicitly or implicitly, in whole or in part,
           compare, were received in conjunction with, or were generated as a result of the subject
           matter of the request, including all documents which reflect, record, specify, memorialize,
           relate, describe, discuss, consider, concern, constitute, embody, evaluate, analyze, refer to,
           review, report on, comment on, impinge upon, or impact the subject matter of the request;

    (5)    "Complaint" means the operative Complaint filed in the above captioned action.

    (6)    "Collection Letter" shall refer to Exhibit "A" attached to the Complaint.

    (7)    "Communication" or "sent" includes every manner or means of disclosure, transfer, or
           exchange of information, and/or attempt thereof, and every disclosure, transfer or exchange
           of information, whether orally or by document or whether face-to-face, by telephone, mail,
           electronic mail, personal delivery, or otherwise, and/or attempt thereof.

    (8)    "Defendant," "you," and "your" shall mean MRS BPO, LLC, any of its directors, officers,
           sales, agents, managers, supervisors, general agents, agents (including attorneys,
           accountants, consultants, investment advisors or bankers), employees, representatives and
           any other persons purporting to act on their behalf. These defined terms include divisions,
           affiliates, subsidiaries, predecessor entities, acquired entities and/or related entities or any
           other entity acting or purporting to act on its behalf, including those who sought to
           communicate with Plaintiff during the relevant time-period whether by letter, e-mail, text
           message, or any other medium, regardless of whether successful or unsuccessful.

    (9)    "Debt" shall refer to the obligation or purported obligation which Defendant sought to
           collect from Plaintiff in the Collection Letter.

    (10)   "Document" means the original, and all non-identical copies (whether different from the
           original because of additional notations or otherwise), of all written, printed, typed,
           recorded, electronically or digitally stored, or graphic matter, however produced or
           reproduced, in the actual or constructive possession, custody, or control of plaintiff
           including, without limitation, all writings, drawings, graphs, charts, photographs,
           photographic records, sound reproduction tapes, data compilations (whether tangible or
           intangible from which information can be obtained, discerned, or can be translated through

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           detection devices into a reasonably usable tangible form), correspondence, memoranda,
           data, notes of conversations, diaries, papers, letters, e-mail communications, telegrams,
           messages of any kind, minutes of meetings, stenographic or hand-typed and written notes,
           appraisals, bids, account books, checks, invoices, ledgers, agreements, studies, estimates,
           reports, instructions, requests, pamphlets, brochures, applications, returns, pictures, books,
           journals, ledgers, corporate records, accounts, contracts, leaflets, administrative or
           governmental reports or returns, exhibits, maps, surveys, sketches, microfilm, Xerox or
           any other tangible things which constitute or contain matters within the scope of the Florida
           Rules of Civil Procedure.

    (11)   "FCCPA" means the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq.

    (12)   "FDCPA" means the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

    (13)   "Including" means: (a) including, but not limited to, or (b) including, without limitation.
           Any examples which follow these phrases are set forth to clarify the request, definition or
           instruction, not limited to the request, definition or instruction.

    (14)   "Identify" with respect to natural person, means to give, to the extent known, the person's
           full name, present or last known address, and when referring to a natural person,
           additionally, the present or last known place of employment. Once a person has been
           identified in accordance with this paragraph, only the name of that person need be listed in
           response to subsequent discovery requesting the identification of that person.

    (15)   "Or" shall mean and/or.

    (16)   "Payment" shall include all available methods of funds tender, including but not limited
           to: cash; money order, a negotiable instrument such as a check, note, or draft; an ACH
           debit; bank, wire, or electronic-funds transfer; and, credit-card payment.

    (17)   "Person" or "Persons" shall mean natural persons, proprietorships, joint ventures,
           partnerships, corporations, trust, groups, associations, organizations, governmental
           agencies and all other entities.

    (18)   "Plaintiff" or "Plaintiff' s" shall mean Edwin Etienne.

    (19)   "Relevant time period," "relevant period" or "during the relevant period" refers to a finite
           length of time, the duration of which is uninterrupted, that begins three years prior to
           commencement of the above captioned action, and ends on June 3,2021.

    (20)   The phrase "as defined by the FDCPA" shall refer to the meaning and/or definition of a
           particular word or phrase set forth under 15 U.S.C. § 1692a.

    (21)   The phrase "as defined by the FCCPA" shall refer to the meaning and/or definition of a
           particular word or phrase set forth under Fla. Stat., § 559.55.

                                                                                                                   PAGE 13 of 6
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               110 SE 6th Street, 17th Floor Ft. Lauderdale, Florida 33301 1 Phone (954) 907-1136 Fax (855) 529-9540
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    II.    INSTRUCTIONS

            Each of the following requests is continuing, and in the event that at any later date you obtain
    or discover any additional information responsive to any request, you shall submit the information
    promptly. If an objection is made to any interrogatories herein, all information covered by the
    interrogatory which is not subject to the objection should be provided.
            Information which may be responsive to more than one interrogatory need not be repeated,
    however such information should be identified and the interrogatory it was previously responsive to
    referenced. All headings herein are included only for organization purposes and should not be
    construed as being part of any interrogatory, or as limiting any request in any manner.
            If any information requested by these interrogatories is claimed to be privileged or any
    interrogatory is otherwise objected to, please provide the exact grounds upon which the objection is
    based and identify all persons who presently have access to or are aware of the information requested.

    III.    INTERROGATORIES

    Interrogatory No. 1.         Describe, step-by-step, the process which resulted in the Collection Letter
                                 being transmitted to Plaintiff, beginning with the date and method of
                                 transmission of Plaintiff' s information to Defendant, e.g., computer tapes
                                 or other media delivered (when, by whom, where and to whom); content
                                 of computer tape or media; data input (where and by whom); computer
                                 entry or other means of directing transmission letters (where and by whom
                                 entry made), letter with debtor information printed (from where and by
                                 whom); letter with debtor information mailed (from where and by whom),
                                 computer tapes or media returned (on what occasion, when, by whom and
                                 to whom).

                                 RESPONSE:


    Interrogatory No. 2.         Identify by name and contact information the entity and/or vendor used
                                 by Defendant to send, prepare, draft, compile, and/or otherwise transmit
                                 the Collection Letter to Plaintiff. An example of such an entity and/or
                                 vendor is CompuMail, Inc.

                                 RESPONSE:


    Interrogatory No. 3.         Identify each of Defendant' s practices, policies, and procedures that were
                                 in existence prior to sending Plaintiff the Collection Letter, whereby said
                                 practices, policies, and procedures were reasonably adapted to prevent
                                 Defendant from violating the FCCPA and/or FDCPA as alleged by
                                 Plaintiff.

                                 RESPONSE:


                                                                                                                    PAGE I 4 of 6
                                      LAW OFFICES OF JIBRAEL S. HINDI, PLLC
                110 SE 6th Street, 17th FlooriFt. Lauderdale, Florida 33301 I Phone (954) 907-1136 Fax (855) 529-9540
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    Interrogatory No. 4.       Identify, by name and contact information, all third-party vendors used by
                               Defendant in the operation and normal course of Defendant organization
                               within the last two (2) years.

                               RESPONSE:


    Interrogatory No. 5.       Identify, by name and contact information, the individual within
                               Defendant' s ordination responsible for the use of third-party vendors.

                               RESPONSE:


    Interrogatory No. 6.       Identify the documents specified by Rule 69V-180.080, Florida
                               Administrative Code, that Defendant maintains.

                               RESPONSE:


    Interrogatory No. 7.       Identify the documents specified by Rule 69V-180.080, Florida
                               Administrative Code, that Defendant does not maintain.

                               RESPONSE:


    Interrogatory No. 8.       Identify the documents specified by Rule 69V-180.080, Florida
                               Administrative Code, maintained by Defendant regarding Plaintiff or the
                               Debt that are current within one week of the current date.

                               RESPONSE:


    Interrogatory No. 9.       Identify the documents specified by Rule 69V-180.080, Florida
                               Administrative Code, maintained by Defendant regarding Plaintiff or the
                               Debt that are not current within one week of the current date.

                               RESPONSE:




                                                                                                                   PAGE 15 of 6
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                                                    VERIFICATION

           Under penalties of perjury, I, the undersigned affiant, declare that I have read the foregoing

    Answers to Interrogatories, and that the Answers are true and correct.



                                                            AFFIANT SIGNATURE


                                                            PRINTED NAME OF AFFIANT


                                                            CAPACITY / TITLE OF AFFIANT


    BEFORE ME, the undersigned authority, personally appeared

    who produced as identification                                                                                        , bearing

    number                                                           expiring on                                              who

    did take an oath, who stated that he/she is the person noted above, and that, according to his/her

    best knowledge and belief, the forgoing answers are true and correct.

    Sworn to and subscribed before me, this                          day of                                       , 202



    SIGNATURE OF NOTARY


    PRINTED NAME OF NOTARY




    SEAL OF NOTARY
                                                                                                                     PAGE I 6 of 6
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